         USDC
AO 458 (Rev.        IN/ND case
             06/09) Appearance        3:18-cv-00574-JD-MGG
                               of Counsel                        document 25 filed 08/27/18 page 1 of 2

                                 UNITED STATES DISTRICT COURT
                                                          for the
                                             Northern District
                                           __________  DistrictofofIndiana
                                                                    __________


                    Aaron Coates                             )
                         Plaintiff                           )
                            v.                               )      Case No.     3:18-cv-00574-JD-MGG
        Valeo Financial Advisors, LLC, et al.,               )
                       Defendant                             )

                                            APPEARANCE OF COUNSEL

To:     The clerk of court and all parties of record

        I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        Defendants Lutheran University Association d/b/a Valparaiso University and Mark A. Heckler                   .


Date:       08/27/2018                                                               /s/ John W. Borkowski
                                                                                       Attorney’s signature


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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on August 27, 2018, the preceding document was filed electronically

through the Court’s CM/ECF system. Notice of this filing will be sent to all counsel of record by

operation of the Court’s electronic filing system.


                                              s/ John W. Borkowski




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